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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

 MICHAELA SMITH
 7413 Prestbury Court
 Shreveport, LA 71129
                                                     Civil Action No. 1:21-cv-920
                    Plaintiff,
        v.
 HOWARD      UNIVERSITY
 2400 6th Street, NW, Suite 321
 Washington, DC 20059
                    Defendant.


                          DEFENDANT’S NOTICE OF REMOVAL

       Defendant, Howard University (“Howard” or “Defendant”), by and through the

undersigned attorney, pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, hereby remove this case

from the Superior Court of the District of Columbia to the United States District Court for the

District of Columbia.

       In support of its Notice of Removal, Defendant states as follows:

                                  Background and Timeliness

       1.      On March 22, 2021, Plaintiff filed a Complaint alleging Breach of Contract and

Discrimination pursuant to Title IX of the Education Amendments of 1972. A Summons was

issued on March 26, 2021. Howard has not been served the Summons and Complaint.

       2.      Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of the Summons and

Complaint, which constitute “all summons, pleadings, and orders” purportedly served upon

Defendant in the state court action, is attached hereto as Exhibit A.

       3.      Because Defendant filed this Notice of Removal within thirty days of service, this

Notice of Removal is timely. See 28 U.S.C. § 1446(b).
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        4.      Plaintiff’s Complaint alleges discrimination pursuant to Title IX of the Education

Amendments of 1972, which therefore presents a federal question. This Court has original

jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United States.

28 U.S. Code § 1331, which includes to Title IX of the Education Amendments of 1972.

        5.      Pursuant to 28 U.S.C. § 1332(a), “[t]he district courts shall have original

jurisdiction of all civil actions where the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and is between…citizens of different States.” 28 U.S.C.

§ 1332(a).

        6.      In addition, pursuant to 28 U.S.C. § 1441(a), “any civil action brought in a State

court of which the district courts of the United States have original jurisdiction, may be removed

by the defendant or the defendant to the district court of the United States for the district and

division embracing the place where such action is pending.” 28 U.S.C. § 1441(a).

        7.      In this case, both the “diversity” and “amount in controversy” requirements are also

met.

        8.      Based on the pleadings, Plaintiff and Defendant are citizens of different states, and

thus this case is “between citizens of different states.” 28 U.S.C. §§ 1332(a), (c)

        9.      Based on the foregoing, this Court has original jurisdiction over Plaintiff’s claims.

See 28 U.S.C. §§ 1332(a); (c).

                                 Venue and Notice to State Court

        10.     Removal is appropriate “to the district court of the United States for the district and

division embracing the place where such action is pending.” 28 U.S.C. § 1441(a). Venue is proper

in this District because this District embraces the Superior Court of the District of Columbia, the

place where the removed action is pending. 28 U.S.C. § 1441(a).




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       11.       Promptly upon the filing of this Notice of Removal, Defendant shall file a Notice

of Filing of Notice of Removal, with a copy of the Notice of Removal, with the Superior Court of

the District of Columbia, and will serve a copy thereof on Plaintiffs pursuant to 28 U.S.C. 1446(d).

See Exhibit B.

                                            Conclusion

       12.       Defendant submits this Notice of Removal, without waiving any defenses to the

claims asserted by Plaintiff, including claims regarding proper service under Rule 4, without

conceding that Plaintiff has plead claims upon which relief can be granted, and without admitting

that Plaintiff is entitled to any monetary or equitable relief whatsoever (or that the damages she

seeks may be properly sought).

       13.       Based on the foregoing, this Court has diversity jurisdiction and federal question

jurisdiction under 28 U.S.C. § 28 U.S. Code § 1331 and 1332(a); therefore, the Court may properly

exercise jurisdiction over this lawsuit.

       WHEREFORE, Defendant submit that this action properly is removable. Defendant

respectfully request that the above-described action pending against it be removed to the United

States District Court for the District of Columbia. Defendant also requests all other relief, at law

or in equity, to which they may be entitled.

April 5, 2021                                  Respectfully submitted,

                                               HOWARD UNIVERSITY
                                                       /s/
                                               Zachary I. Shapiro
                                               Senior Associate General Counsel
                                               D.C. Bar # 1021639
                                               Howard University
                                               2400 Sixth Street, N.W.
                                               Washington, D.C. 20059
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this April 5, 2021, I sent the foregoing document to counsel for

Plaintiff via email to:

                Amy Norris
                Anna Nathanson
                Norris Law, PLLC
                616 E Street NW
                Suite 1156
                Washington, DC 20004
                amy@mwlc.org
                anna@norrislawgroup.org


                                                    /s/
                                             Zachary I. Shapiro




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